     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________
     Middle                District of _________________
             District of Tennessee     (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                           
                                                           ✔    Chapter 11
                                                               Chapter 12
                                                                                                                                    Check if this is an
                                                               Chapter 13                                                             amended filing




Official Form 201
V olunt a ry Pe t it ion for N on-I ndividua ls Filing for Ba nk rupt c y                                                                       04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



1.    Debtor’s name                         River  Hill Ltd.
                                            ______________________________________________________________________________________________________




2.    All other names debtor used           DBA   River Hill Estates
                                            ______________________________________________________________________________________________________
      in the last 8 years                   ______________________________________________________________________________________________________
                                            ______________________________________________________________________________________________________
      Include any assumed names,
                                            ______________________________________________________________________________________________________
      trade names, and doing business
      as names                              ______________________________________________________________________________________________________




3.    Debtor’s federal Employer             XX-XXXXXXX
                                            ______________________________________
      Identification Number (EIN)



4.    Debtor’s address                      Principal place of business                            Mailing address, if different from principal place
                                                                                                   of business
                                               2930 Sidco Dr.                                      _______________________________________________
                                            ______________________________________________
                                            Number     Street                                      Number     Street

                                            ______________________________________________         _______________________________________________
                                                                                                   P.O. Box

                                               Nashville                     TN   37204
                                            ______________________________________________         _______________________________________________
                                            City                        State    ZIP Code          City                      State      ZIP Code

                                                                                                   Location of principal assets, if different from
                                                                                                   principal place of business
                                               Davidson County
                                            ______________________________________________
                                            County
                                                                                                   720 Ewing Ave.
                                                                                                   _______________________________________________
                                                                                                   Number     Street

                                                                                                   _______________________________________________

                                                                                                   Gasden                     AL      35901
                                                                                                   _______________________________________________
                                                                                                   City                      State      ZIP Code




5.    Debtor’s website (URL)                ____________________________________________________________________________________________________


6.    Type of debtor                         Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                            
                                            ✔ Partnership (excluding LLP)

                                             Other. Specify: __________________________________________________________________


Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                    page 1
            Case 3:21-bk-03771                  Doc  1 Filed 12/10/21 Entered 12/10/21 14:22:07                             Desc Main
                                                          Document              Page 1 of 48
                River Hill Ltd.
Debtor          _______________________________________________________                         Case number (if known)_____________________________________
                Name


                                         A. Check one:
7.    Describe debtor’s business
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         
                                         ✔ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                         B. Check all that apply:
                                         
                                         ✔ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                          Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))
                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.naics.com/search/ .
                                            531110
                                            _________

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the              Chapter 7
      debtor filing?
                                          Chapter 9
                                         
                                         ✔ Chapter 11. Check all that apply:

                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
                                                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                              affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      A debtor who is a “small business                       recent balance sheet, statement of operations, cash-flow statement, and federal
      debtor” must check the first sub-                       income tax return or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).
      box. A debtor as defined in
      § 1182(1) who elects to proceed                        The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
      under subchapter V of chapter 11                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
      (whether or not the debtor is a                         Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
      “small business debtor”) must                           statement of operations, cash-flow statement, and federal income tax return, or if
      check the second sub-box.                               any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                          
                                                          ✔   A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                          Chapter 12
9.    Were prior bankruptcy cases         No
      filed by or against the debtor
      within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases            No
      pending or being filed by a                          Willow Park Apartments, Ltd.                                       Affiliate
      business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                               Middle District of Tennessee
                                                   District _____________________________________________ When                 09/14/2004
                                                                                                                              __________________
      List all cases. If more than 1,                                                                                         MM / DD / YYYY
      attach a separate list.                                             04-11282
                                                   Case number, if known ________________________________

               Case
     Official Form 2013:21-bk-03771        Doc  1 Filed
                                            Voluntary          12/10/21
                                                      Petition for              Entered
                                                                   Non-Individuals             12/10/21 14:22:07
                                                                                   Filing for Bankruptcy                         Desc Main
                                                                                                                                      page 2
                                                     Document              Page 2 of 48
              River Hill Ltd.
Debtor        _______________________________________________________                             Case number (if known)_____________________________________
              Name




11.   Why is the case filed in this         Check all that apply:
      district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                             ✔

                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                             A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have           
                                            ✔ No
      possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                            Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______     ________________
                                                                                City                                            State       ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




            St a t ist ic a l a nd a dm inist ra t ive informa t ion



13.   Debtor’s estimation of                Check one:
      available funds                        Funds will be available for distribution to unsecured creditors.
                                             ✔


                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                             1-49
                                             ✔
                                                                               1,000-5,000                              25,001-50,000
14.   Estimated number of                    50-99                            5,001-10,000                             50,001-100,000
      creditors
                                             100-199                          10,001-25,000                            More than 100,000
                                             200-999

                                             $0-$50,000                       $1,000,001-$10 million                   $500,000,001-$1 billion
15.   Estimated assets                       $50,001-$100,000
                                             ✔
                                                                               $10,000,001-$50 million                  $1,000,000,001-$10 billion
                                             $100,001-$500,000                $50,000,001-$100 million                 $10,000,000,001-$50 billion
                                             $500,001-$1 million              $100,000,001-$500 million                More than $50 billion



  Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 3
           Case 3:21-bk-03771                    Doc  1 Filed 12/10/21 Entered 12/10/21 14:22:07                                     Desc Main
                                                           Document              Page 3 of 48
               River Hill Ltd.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name



                                            $0-$50,000                         $1,000,001-$10 million
                                                                                   ✔
                                                                                                                           $500,000,001-$1 billion
16.   Estimated liabilities                 $50,001-$100,000                   $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                            $100,001-$500,000                  $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                            $500,001-$1 million                $100,000,001-$500 million                 More than $50 billion


             Re que st for Re lie f, De c la ra tion, a nd Signa t ure s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of             The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                petition.
      debtor
                                               I have been authorized to file this petition on behalf of the debtor.

                                               I have examined the information in this petition and have a reasonable belief that the information is true and
                                                correct.


                                           I declare under penalty of perjury that the foregoing is true and correct.

                                                              12/10/2021
                                               Executed on _________________
                                                           MM / DD / YYYY


                                            /s/ Robert R. Short
                                               _____________________________________________               Robert R. Short
                                                                                                          _______________________________________________
                                               Signature of authorized representative of debtor           Printed name

                                                      Chief Manager of LLC GP
                                               Title _________________________________________




18.   Signature of attorney
                                            /s/ Robert Gonzales
                                               _____________________________________________              Date          12/10/2021
                                                                                                                        _________________
                                                Signature of attorney for debtor                                        MM   / DD / YYYY



                                                Robert Gonzales
                                               _________________________________________________________________________________________________
                                               Printed name
                                                EmergeLaw, PLC
                                               _________________________________________________________________________________________________
                                               Firm name
                                                4000 Hillsboro Pike 1112
                                               _________________________________________________________________________________________________
                                               Number     Street
                                                Nashville
                                               ____________________________________________________            TN              37215
                                                                                                              ____________ ______________________________
                                               City                                                           State        ZIP Code

                                                6158151535
                                               ____________________________________                              robert@emerge.law
                                                                                                              __________________________________________
                                               Contact phone                                                  Email address



                                                016705                                                         TN
                                               ______________________________________________________ ____________
                                               Bar number                                             State




  Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 4
           Case 3:21-bk-03771                  Doc  1 Filed 12/10/21 Entered 12/10/21 14:22:07                                       Desc Main
                                                         Document              Page 4 of 48
                         River Hill Ltd.
 Debtor name
                                         Middle District of Tennessee
 United States Bankruptcy Court for the:_ ______________________ District of ________
                                                                                                                       (State)
 Case number (If known):


                                                                                                                                                                                                           q Check if this is an
                                                                                                                                                                                                              amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                      12/15



Part 1:          Summary of Assets


1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a. Real property:
                                                                                                                                                                                                       $          56,000.00
           Copy line 88 from Schedule A/B ..........................................................................................................................................

     1b. Total personal property:
                                                                                                                                                                                                       $          18,452.07
           Copy line 91A from Schedule A/B ........................................................................................................................................

     1c. Total of all property:                                                                                                                                                                                   74,452.07
                                                                                                                                                                                                       $
           Copy line 92 from Schedule A/B ..........................................................................................................................................




Part 2:          Summary of Liabilities




2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                          $ _ _
                                                                                                                                                                                                                  61,318.00
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ................................................

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                                       $          19,095.40
           Copy the total claims from Part 1 from line 6a of Schedule E/F.........................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 6b of Schedule E/F .............................................................                                              +$ 2,039,065.81



4.    Total liabilities ...........................................................................................................................................................................   $     2,229,479.21
     Lines 2 + 3a + 3b




               Case 3:21-bk-03771                                     Doc 1               Filed 12/10/21                           Entered 12/10/21 14:22:07                                          Desc Main
 Official Form 206Sum                                                       Document
                                                               Summary of Assets                 Page
                                                                                 and Liabilities for     5 of 48
                                                                                                     Non-Individuals                                                                                              page 1
      Fill in this information to identify the case:

                    River Hill Ltd.
      Debtor name __________________________________________________________________

                                              Middle District of Tennessee
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                        Check if this is an
      Case number (If known):   _________________________                                                                                   amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                      12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                          professional          unliquidated,   total claim amount and deduction for value of
                                                                          services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                                Total claim, if    Deduction for       Unsecured
                                                                                                                partially          value of            claim
                                                                                                                secured            collateral or
                                                                                                                                   setoff
     Secretary of Housing and Urban           John.P.Young@hud.gov      Monies Loaned /
1    Development                                                        Advanced
     The Associate General Counsel for
                                                                                                                1,470,840.00      56,000.00          1,470,840.00
     Litigation Office of Litigation - Room
     10258 U.S. Department of Housing and
     Urban Development
     Alabama Department of Revenue                                      Taxes & Other
2    P.O. Box 327210                                                    Government Units
                                                                                                                                                     19,095.40
     Montgomery, AL, 36132

     Harper Paint Contractors                                           Suppliers or Vendors
3    2519 County Road 108
                                                                                                                                                     12,500.00
     Rainsville, AL, 35986


     Foote Bros. Carpet and Flooring                                    Suppliers or Vendors
4    200 West Meighan Boulevard
                                                                                                                                                     7,124.78
     Gadsden, AL, 35901


     Gadsden Water Works and Sewer Board                                Utility Services
5    515 N Albert Rains Blvd
                                                                                                                                                     6,992.30
     Gadsden, AL, 35901

     Lapsley Heating & Air                                              Suppliers or Vendors
6    7668 Owls Hollow Rd
                                                                                                                                                     5,979.46
     Gadsden, AL, 35901


     Robert R. Short                                                    Monies Loaned /
7    2930 Sidco Drive                                                   Advanced
     Nashville, TN, 37204                                                                                       61,318.00         56,000.00          5,318.00


     Lincoln Coggin dba CFL Accounting                                  Services
8    Service
     8300 Alamo Rd                                                                                                                                   4,000.00
     Brentwood, TN, 37027




              Case 3:21-bk-03771
    Official Form 204
                                        Doc 1 Filed 12/10/21 Entered 12/10/21 14:22:07 Desc Main
                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        page 1
                                                  Document             Page 6 of 48
                       River Hill Ltd.
    Debtor            _______________________________________________________                     Case number (if known)_____________________________________
                      Name




     Name of creditor and complete            Name, telephone number,       Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code      and email address of          (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                              creditor contact              debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional           unliquidated,   total claim amount and deduction for value of
                                                                            services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                   Total claim, if    Deduction for       Unsecured
                                                                                                                   partially          value of            claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
     LBK Appraisal Services                                               Services
9    1105 Wildtree Ln.
                                                                                                                                                         4,000.00
     Knoxville, TN, 37923

     Bolin Cabinet Shop                                                   Suppliers or Vendors
10 9554 Highway 132
                                                                                                                                                         3,300.00
     Altoona, AL, 35952


     Ervin Lee Harris dba Harris Painting                                 Suppliers or Vendors
11 145 Holmes St
                                                                                                                                                         2,850.00
     Gadsden, AL, 35901

     Custom Pest Control                                                  Suppliers or Vendors
12 10062 AL Highway 168
                                                                                                                                                         2,400.00
     Boaz, AL, 35957


     Tom Wall CPA, PLLC                                                   Services
13 256 Seaboard Lane, Unit E-103
                                                                                                                                                         1,500.00
     Franklin, TN, 37067

     Livingston Law Office                                                Services
14 247 S 8th St.
                                                                                                                                                         1,351.04
     Gadsden, AL, 35901

     Alley's Carpet                                                       Suppliers or Vendors
15 2211 S 11th St,
                                                                                                                                                         1,285.00
     Gadsden, AL, 35904

     Roto Rooters                                                         Suppliers or Vendors
16 3803 W Meighan Blvd,
                                                                                                                                                         1,004.26
     Gasden, AL, 35904

     Verizon Wireless                                                     Suppliers or Vendors
17 PO BOX 660108
     Dallas, TX, 75266                                                                                                                                   229.10


     Colours Inc.                                                         Suppliers or Vendors
18 1137 Hanover Street
                                                                                                                                                         139.54
     Hanover TWP, PA, 18706

     Lowes Home Improvement                                               Credit Card Debt
19 PO BOX 530970
     Atlanta, GA, 30353                                                                                                                                  25.07


     Shara Madden                                                         Wages
20 720 Ewing Avenue
     Apt. 143                                                                                                                                            0.00
     Gadsden, AL, 35901




              Case 3:21-bk-03771
    Official Form 204
                                       Doc 1 Filed 12/10/21 Entered 12/10/21 14:22:07 Desc Main
                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                               page 2
                                                 Document             Page 7 of 48
  Fill in this information to identify the case:

               River Hill Ltd.
  Debtor name __________________________________________________________________


  United States Bankruptcy Court for the:_______________________________
                                          Middle District of Tennessee
  Case number (If known):       _________________________                                                                            Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Sche dule A/B: Asse t s — Re a l a nd Pe rsona l Prope r t y                                                                                      12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Pa rt 1 :     Ca sh a nd c a sh e quiva le nt s

1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
   ✔
            Yes. Fill in the information below.

     All cash or cash equivalents owned or controlled by the debtor                                                               Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                    0.00
                                                                                                                                 $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                   Type of account             Last 4 digits of account number
          First Bank
    3.1. _________________________________________________  Checking
                                                           ______________________              5
                                                                                               ____    2
                                                                                                      ____    9
                                                                                                             ____   7
                                                                                                                    ____         $______________________
                                                                                                                                   9.16
          See continuation sheet
    3.2. _________________________________________________ ______________________              ____ ____ ____ ____                 8,399.91
                                                                                                                                 $______________________


4. Other cash equivalents (Identify all)
    4.1. _____________________________________________________________________________________________________                   $______________________
    4.2. _____________________________________________________________________________________________________                   $______________________

5. Total of Part 1                                                                                                                 8,409.07
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Pa rt 2 :     De posit s a nd pre pa ym e nt s

6. Does the debtor have any deposits or prepayments?

           No. Go to Part 3.
   ✔
            Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit
          Checking Account (First Bank)
    7.1. ________________________________________________________________________________________________________                 $______________________
                                                                                                                                    9,043.00
    7.2._________________________________________________________________________________________________________                 $_______________________

              Case 3:21-bk-03771                       Doc 1   Filed 12/10/21 Entered 12/10/21 14:22:07                          Desc Main
   Official Form 206A/B                                        Schedule A/B: Assets
                                                               Document         Page Real
                                                                                       8 ofand48
                                                                                               Personal Property                              page 1
Debtor           River Hill Ltd.
                _______________________________________________________                          Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
    Description, including name of holder of prepayment

    8.1.___________________________________________________________________________________________________________                $______________________
    8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                     9,043.00
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Pa rt 3 :   Ac c ount s re c e iva ble

10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      ✔


      Yes. Fill in the information below.
                                                                                                                                   Current value of debtor’s
                                                                                                                                   interest
11. Accounts receivable

     11a. 90 days old or less:    ____________________________ – ___________________________          = ........                 $______________________
                                   face amount                   doubtful or uncollectible accounts

     11b. Over 90 days old:        ___________________________ – ___________________________          = ........                 $______________________
                                    face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                  $______________________
     Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Pa rt 4 :   I nve st me nt s

13. Does the debtor own any investments?
      No. Go to Part 5.
      ✔


      Yes. Fill in the information below.
                                                                                                         Valuation method          Current value of debtor’s
                                                                                                         used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
    Name of fund or stock:
    14.1. ________________________________________________________________________________               _____________________    $________________________
    14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

    Name of entity:                                                                 % of ownership:
    15.1._______________________________________________________________            ________%            _____________________    $________________________
    15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
    Describe:

    16.1.________________________________________________________________________________                ______________________    $_______________________
    16.2.________________________________________________________________________________                ______________________    $_______________________



17. Total of Part 4
                                                                                                                                  $______________________
     Add lines 14 through 16. Copy the total to line 83.


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Official Form 206A/B                                        Schedule A/B: Assets
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                                                                                            Personal Property                                    page 2
                   River Hill Ltd.
Debtor            _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 5 :    I nve nt ory, e x c luding a gric ult ure a sse t s

18. Does the debtor own any inventory (excluding agriculture assets)?
      No. Go to Part 6.
      ✔


      Yes. Fill in the information below.
      General description                               Date of the last         Net book value of        Valuation method used        Current value of
                                                        physical inventory       debtor's interest        for current value            debtor’s interest
                                                                                 (Where available)
19. Raw materials
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

20. Work in progress
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

21. Finished goods, including goods held for resale
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________

22. Other inventory or supplies
    ________________________________________                  ______________                                                          $______________________
                                                              MM / DD / YYYY
                                                                                 $__________________       ______________________


23. Total of Part 5                                                                                                                   $______________________
     Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________          Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Pa rt 6 :    Fa rm ing a nd fishing-re la t e d a sse t s (ot he r t ha n t it le d m ot or ve hic le s a nd la nd)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
      No. Go to Part 7.
      ✔



      Yes. Fill in the information below.
      General description                                                        Net book value of        Valuation method used        Current value of debtor’s
                                                                                 debtor's interest        for current value            interest
                                                                                 (Where available)
28. Crops—either planted or harvested
    ______________________________________________________________                $________________         ____________________      $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

    ______________________________________________________________                $________________         ____________________      $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

    ______________________________________________________________                $________________         ____________________      $______________________

31. Farm and fishing supplies, chemicals, and feed

    ______________________________________________________________                $________________         ____________________      $______________________

32. Other farming and fishing-related property not already listed in Part 6
    ______________________________________________________________                $________________         ____________________     $______________________
             Case 3:21-bk-03771                  Doc 1       Filed 12/10/21 Entered 12/10/21 14:22:07                                Desc Main
Official Form 206A/B                                         Schedule A/B: Assets
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                                                                                     10 and Personal Property
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                River Hill Ltd.
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




33. Total of Part 6.
                                                                                                                                   $______________________
     Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

      No
      Yes. Is any of the debtor’s property stored at the cooperative?
        No
        Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

      No
      Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

      No
      Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

      No
      Yes

Pa rt 7 :   Offic e furnit ure , fix t ure s, a nd e quipm e nt ; a nd c olle c t ible s

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes. Fill in the information below.
      ✔




    General description                                                          Net book value of     Valuation method             Current value of debtor’s
                                                                                 debtor's interest     used for current value       interest
                                                                                 (Where available)
39. Office furniture
Misc. Office Furniture
                                                                                    0.00
                                                                                  $________________     ____________________        500.00
                                                                                                                                  $______________________
40. Office fixtures
Misc. Fixtures
                                                                                    0.00
                                                                                  $________________     ____________________        500.00
                                                                                                                                  $______________________
41. Office equipment, including all computer equipment and
   communication systems equipment and software
                                                                                  $________________     ____________________      $______________________


42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
   artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
   or baseball card collections; other collections, memorabilia, or collectibles

    42.1___________________________________________________________               $________________      ____________________      $______________________
    42.2___________________________________________________________               $________________      ____________________      $______________________
    42.3___________________________________________________________               $________________      ____________________      $______________________
43. Total of Part 7.
                                                                                                                                     1,000.00
                                                                                                                                   $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     
     ✔ No
      Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
     
     ✔ No
      Yes
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Official Form 206A/B                                        Schedule A/B: Assets
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                 River Hill Ltd.
 Debtor         _______________________________________________________                    Case number (if known)_____________________________________
                Name




Pa rt 8 : M a c hine ry, e quipme nt , a nd ve hic le s

46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      ✔


      Yes. Fill in the information below.

    General description                                                    Net book value of      Valuation method used        Current value of
                                                                           debtor's interest      for current value            debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
    HIN, or N-number)

47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________         $________________      ____________________       $______________________

    47.2___________________________________________________________         $________________      ____________________       $______________________

    47.3___________________________________________________________         $________________      ____________________       $______________________

    47.4___________________________________________________________         $________________      ____________________       $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________         $________________       ____________________       $______________________

    48.2__________________________________________________________         $________________       ____________________       $______________________

49. Aircraft and accessories

    49.1__________________________________________________________         $________________       ____________________       $______________________

    49.2__________________________________________________________         $________________       ____________________       $______________________

50. Other machinery, fixtures, and equipment
    (excluding farm machinery and equipment)


    ______________________________________________________________         $________________       ____________________       $______________________


51. Total of Part 8.
                                                                                                                              $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




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 Official Form 206A/B                                      Schedule A/B: Assets
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                                                                                   12 and Personal Property
                                                                                       of 48                                               page 5
                   River Hill Ltd.
 Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                  Name




Pa rt 9 :    Re a l prope rt y

54. Does the debtor own or lease any real property?
        No. Go to Part 10.
        Yes. Fill in the information below.
       ✔



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

       Description and location of property                   Nature and extent      Net book value of     Valuation method used        Current value of
       Include street address or other description such as    of debtor’s interest   debtor's interest     for current value            debtor’s interest
       Assessor Parcel Number (APN), and type of property     in property            (Where available)
       (for example, acreage, factory, warehouse, apartment
       or office building), if available.
       River Hill Estates- Multi-family Apartment              Own
55.1
       Complex
                                                                                      56,000.00            Tax Assessor Etowah County56,000.00
                                                                                     $_______________      ____________________ $_____________________

55.2

                                                                                     $_______________      ____________________        $_____________________

55.3

                                                                                     $_______________      ____________________        $_____________________


56. Total of Part 9.                                                                                                                     56,000.00
                                                                                                                                       $_____________________
       Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
       
       ✔    No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
       
       ✔    No
           Yes

Pa rt 1 0 : I nt a ngible s a nd int e lle c t ua l prope rty

59. Does the debtor have any interests in intangibles or intellectual property?
        No. Go to Part 11.
       ✔


        Yes. Fill in the information below.
        General description                                                          Net book value of     Valuation method             Current value of
                                                                                     debtor's interest     used for current value       debtor’s interest
                                                                                     (Where available)
60. Patents, copyrights, trademarks, and trade secrets
       ______________________________________________________________                $_________________     ______________________      $____________________

61. Internet domain names and websites
       ______________________________________________________________                $_________________     ______________________       $____________________

62. Licenses, franchises, and royalties
       ______________________________________________________________                $_________________     ______________________       $____________________

63. Customer lists, mailing lists, or other compilations
       ______________________________________________________________                $_________________     ______________________       $____________________

64. Other intangibles, or intellectual property
       ______________________________________________________________                 $________________     _____________________       $____________________
65. Goodwill
       ______________________________________________________________                 $________________     _____________________       $____________________

66. Total of Part 10.
                                                                                                                                        $____________________
       Add lines 60 through 65. Copy the total to line 89.




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 Official Form 206A/B                                           Schedule A/B: Assets
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                                                                                        13 and Personal Property
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Debtor            River Hill Ltd.
                 _______________________________________________________                            Case number (if known)_____________________________________
                 Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Pa rt 1 1 : All ot he r a sse t s

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
     ✔
           No. Go to Part 12.
          Yes. Fill in the information below.
                                                                                                                                          Current value of
                                                                                                                                          debtor’s interest
71. Notes receivable
     Description (include name of obligor)

     ______________________________________________________
                                                                        _______________     –   __________________________         =    $_____________________
                                                                        Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

     Description (for example, federal, state, local)

     _________________________________________________________________________________
                                                                                                              Tax year ___________       $_____________________
     _________________________________________________________________________________
                                                                                                              Tax year ___________       $_____________________
     _________________________________________________________________________________
                                                                                                              Tax year ___________       $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                      $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                      $_______________________
    Nature of claim                    ___________________________________

    Amount requested                   $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                      $_______________________

    Nature of claim                    ___________________________________

    Amount requested                   $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                        $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                          $_____________________
   ____________________________________________________________                                                                          $_____________________
78. Total of Part 11.
                                                                                                                                         $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes
            Case 3:21-bk-03771                          Doc 1    Filed 12/10/21 Entered 12/10/21 14:22:07                               Desc Main
Official Form 206A/B                                             Schedule A/B: Assets
                                                                Document         Page  Real
                                                                                         14 and Personal Property
                                                                                             of 48                                                   page 7
                   River Hill Ltd.
Debtor            _______________________________________________________                                              Case number (if known)_____________________________________
                  Name




Pa rt 1 2 :     Sum ma ry



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property
                                                                                                         8,409.07
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________

                                                                                                         9,043.00
81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________

                                                                                                         0.00
82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________

                                                                                                         0.00
83. Investments. Copy line 17, Part 4.                                                                 $_______________
                                                                                                         0.00
84. Inventory. Copy line 23, Part 5.                                                                   $_______________
                                                                                                         0.00
85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.                                         1,000.00
                                                                                                       $_______________
     Copy line 43, Part 7.
                                                                                                         0.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                               56,000.00
                                                                                                                                             $________________
88. Real property. Copy line 56, Part 9. . .................................................................................. 
                                                                                                         0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.                                      $_______________

                                                                                                         0.00
90. All other assets. Copy line 78, Part 11.                                                      +    $_______________

                                                                                                         18,452.07                             56,000.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                   $_______________           +   91b.
                                                                                                                                             $________________




                                                                  74,452.07                                                                                        74,452.07
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................     $__________________




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Official Form 206A/B                                                    Schedule A/B: Assets
                                                                       Document         Page  Real
                                                                                                15 and Personal Property
                                                                                                    of 48                                                                page 8
                River Hill Ltd.
 Debtor 1                                                                _          Case number (if known)
               First Name         Middle Name     Last Name



                                                      Continuation Sheet for Official Form 206 A/B
3) Checking, savings, money market, or financial brokerage accounts

Fifth Third                                     Checking                          2815

Balance: 5,035.18

Wells Fargo Bank                                Checking                          4187

Balance: 2,890.65

First Bank                                      Checking                          5300

Balance: 474.08




            Case 3:21-bk-03771                  Doc 1          Filed 12/10/21 Entered 12/10/21 14:22:07      Desc Main
Official Form 206 A/B                                         DocumentSchedule A/B: Property
                                                                            Page    16 of 48
  Fill in this information to identify the case:
              River Hill Ltd.
  Debtor name __________________________________________________________________
                                          _______________________________________
  United States Bankruptcy Court for the: Middle District of Tennessee

  Case number (If known):       _________________________                                                                                               Check if this is an
                                                                                                                                                            amended filing
 Official Form 206D
 Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
        No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.

 Pa rt 1 :      List Cre dit ors Who H a ve Se c ure d Cla im s
                                                                                                                                 Column A                  Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                  Amount of claim           Value of collateral
                                                                                                                                 Do not deduct the value   that supports this
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien            of collateral.            claim
     Robert R. Short                                             River Hill Estates- Multi-family Apartment
      __________________________________________
                                                                 Complex                                                           61,318.00
                                                                                                                                 $__________________          56,000.00
                                                                                                                                                            $_________________

     Creditor’s mailing address

      2930 Sidco Drive
      ________________________________________________________
      Nashville, TN 37204
      ________________________________________________________

                                                                 Describe the lien
    Creditor’s email address, if known
                                                                 Agreement    you made
                                                                 _________________________________________________
       riverhill@tamco.org
      _________________________________________
                                                                 Is the creditor an insider or related party?
    Date debt was incurred           __________________             No
    Last 4 digits of account                                     
                                                                 ✔   Yes
    number                   _________________                   Is anyone else liable on this claim?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     No
                                                                 As of the petition filing date, the claim is:
    ✔
       Yes. Specify each creditor, including this creditor,
                                                                 Check all that apply.
    Robert R. Short, 1st; Secretary of                              Contingent
    Housing and Urban Development,                                  Unliquidated
    2nd                                                             Disputed
2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     Secretary of Housing and Urban
     Development                                                 River Hill Estates- Multi-family Apartment                      $__________________
                                                                                                                                  1,470,840.00              $_________________
                                                                                                                                                             56,000.00
      __________________________________________                 Complex
     Creditor’s mailing address
      The Associate General Counsel for Litigation Office of Litigation - Room 10258 U.S. Department of Housing and Urban Development
      ________________________________________________________
      451 Seventh Street, S.W. , Washington, DC 20410
      ________________________________________________________


    Creditor’s email address, if known
      John.P.Young@hud.gov
      _________________________________________
                                                                 Describe the lien
    Date debt was incurred __________________
    Last 4 digits of account                                      Agreement you made
                                                                  _________________________________________________
    number                   _________________
                                                                 Is the creditor an insider or related party?
    Do multiple creditors have an interest in the                
                                                                 ✔   No
    same property?                                                  Yes
     No                                                         Is anyone else liable on this claim?
    
    ✔ Yes. Have you already specified the relative
                                                                    No
              priority?
                                                                    Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             No. Specify each creditor, including this
                   creditor, and its relative priority.          As of the petition filing date, the claim is:
                                                                 Check all that apply.
                                                                    Contingent
             Yes. The relative priority of creditors is            Unliquidated
                                       2.1
                  specified on lines _____                       
                                                                 ✔   Disputed

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                    1,532,158.00
                                                                                                                                  $________________
    Page, ifCase
            any.         3:21-bk-03771                     Doc 1   Filed 12/10/21 Entered 12/10/21 14:22:07                                        Desc Main
   Official Form 206D                                             Document
                                                     Schedule D: Creditors          PageSecured
                                                                           Who Have Claims 17 of by
                                                                                                 48Property                                                             2
                                                                                                                                                              page 1 of ___
Debtor
               River Hill Ltd.
               _______________________________________________________                            Case number (if known)_____________________________________
               Name



Pa rt 2 :    List Ot he rs t o Be N ot ifie d for a De bt Alre a dy List e d in Pa rt 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                On which line in Part 1      Last 4 digits of
         Name and address
                                                                                                                did you enter the            account number
                                                                                                                related creditor?            for this entity
     John Young
     Multifamily Asset Management, Southeast Region U.S. Department of Housing and
     Urban Development                                                                                                 2
                                                                                                               Line 2. __                    _________________
     40 Marietta St. 13th Floor
     Atlanta, GA, 30303

                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________




                                                                                                               Line 2. __                    _________________


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Form 206D                          Official Part 2 of Schedule D: Creditors Who
                                                          Document              Have Claims
                                                                             Page    18 of Secured
                                                                                            48     by Property                                  page ___
                                                                                                                                                      2 of ___
                                                                                                                                                           2
      Fill in this information to identify the case:

      Debtor
                      River Hill Ltd.
                      __________________________________________________________________

                                              Middle District of Tennessee
      United States Bankruptcy Court for the: ________________________________

      Case number      ___________________________________________
      (If known)

                                                                                                                                          Check if this is an
                                                                                                                                            amended filing
  Official Form 206E/F
  Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                         12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Pa rt 1 :         List All Cre ditors w ith PRI ORI T Y U nse c ure d Cla im s

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
          No. Go to Part 2.
      
      ✔    Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                            Total claim                  Priority amount
2.1 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________
                                                                                                              19,095.40                   19,095.45
    Alabama Department of Revenue                                                                                                       $_________________
                                                               Check all that apply.
    P.O. Box 327210                                               Contingent
                                                                  Unliquidated
       Montgomery, AL, 36132                                      Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred                           Taxes & Other Government Units
      _________________________________

      Last 4 digits of account                                 Is the claim subject to offset?
      number      2021
                  _______________________                      ✔ No

                                                                Yes
      Specify Code subsection of PRIORITY unsecured
                                  8
      claim: 11 U.S.C. § 507(a) (_____)
      Priority creditor’s name and mailing address
2.2                                                            As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

2.3 Priority creditor’s name and mailing address               As of the petition filing date, the claim is: $______________________    $_________________
                                                               Check all that apply.
                                                                  Contingent
                                                                  Unliquidated
                                                                  Disputed

                                                               Basis for the claim:
      Date or dates debt was incurred
      _________________________________

      Last 4 digits of account
      number      _______________________                      Is the claim subject to offset?
                                                                No
      Specify Code subsection of PRIORITY unsecured             Yes
      claim: 11 U.S.C. § 507(a) (_____)

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                Name


 Pa rt 2 :   List All Cre ditors w ith NONPRI ORI T Y U nse c ure d Cla ims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                               Amount of claim
                                                                           As of the petition filing date, the claim is:
3.1 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Advanced Disposal                                                                                                          0.00
                                                                                                                             $________________________________
                                                                              Contingent
    PO BOX 743019                                                             Unliquidated
    Atlanta, GA, 30374                                                        Disputed
                                                                                                   Suppliers or Vendors
                                                                           Basis for the claim:



    Date or dates debt was incurred            ___________________          Is the claim subject to offset?

    Last 4 digits of account number            2996
                                               ___________________         
                                                                           ✔   No
                                                                              Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AL Power Company                                                       Check all that apply.                               0.00
                                                                                                                             $________________________________
    PO BOX 242                                                                Contingent
    Birmingham, AL, 35292                                                     Unliquidated
                                                                              Disputed
                                                                           Basis for the claim:
                                                                                                   Utility Services


    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                           
                                                                           ✔   No
    Last 4 digits of account number            MULT
                                               __________________             Yes
                                                                           As of the petition filing date, the claim is:
3.3 Nonpriority creditor’s name and mailing address                        Check all that apply.
    Alley's Carpet                                                                                                             1,285.00
                                                                                                                             $________________________________
                                                                              Contingent
    2211 S 11th St,                                                           Unliquidated
                                                                              Disputed
     Gadsden, AL, 35904
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                                                            Is the claim subject to offset?
    Last 4 digits of account number            9417
                                               __________________          
                                                                           ✔   No
                                                                              Yes
3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    AT&T                                                                   Check all that apply.
                                                                                                                               0.00
                                                                                                                             $________________________________
    PO BOx 105262                                                             Contingent
    Atlanta, GA, 30348                                                        Unliquidated
                                                                              Disputed
                                                                            Basis for the claim:
                                                                                                   Utility Services

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?

    Last 4 digits of account number            0547
                                               __________________          
                                                                           ✔
                                                                               No
                                                                              Yes
3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Bolin Cabinet Shop                                                                                                         3,300.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    9554 Highway 132                                                          Contingent
                                                                              Unliquidated
    Altoona, AL, 35952                                                        Disputed
                                                                           Basis for the claim:
                                                                                                   Suppliers or Vendors

    Date or dates debt was incurred            ___________________
                                                                           Is the claim subject to offset?
    Last 4 digits of account number            0836
                                               __________________          
                                                                           ✔   No
                                                                              Yes
3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
    Chadwell Supply                                                                                                            0.00
                                                                                                                             $________________________________
                                                                           Check all that apply.
    4907 Joanne Kearney Blvd                                                  Contingent
                                                                              Unliquidated
     Tampa, FL, 33619                                                         Disputed
                                                                           Basis for the claim:    Suppliers or Vendors

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
    Last 4 digits of account number            1160
                                               ___________________         
                                                                           ✔
                                                                               No
                                                                              Yes
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Pa rt 2 :     Addit iona l Pa ge


  Copy this page only if more space is needed. Continue numbering the lines sequentially from the
                                                                                                                        Amount of claim
  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  7
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             139.54
                                                                                                                     $________________________________
 Colours Inc.                                                           Contingent
 1137 Hanover Street                                                    Unliquidated
                                                                        Disputed
 Hanover TWP, PA, 18706
                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       1535
                                              ___________________
  8
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 Comcast
 PO Box 71221                                                           Contingent
 Charlotte, NC, 28272                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       2625
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  9
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Custom Pest Control                                                 Check all that apply.
                                                                                                                      2,400.00
                                                                                                                     $________________________________
 10062 AL Highway 168                                                   Contingent
                                                                        Unliquidated
 Boaz, AL, 35957                                                        Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              6573                   
                                                                     ✔
                                                                         No
                                                                        Yes
  10
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      2,850.00
                                                                                                                     $________________________________
 Ervin Lee Harris dba Harris Painting                                Check all that apply.
 145 Holmes St                                                          Contingent
                                                                        Unliquidated
 Gadsden, AL, 35901                                                     Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              9995                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  11
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Foote Bros. Carpet and Flooring                                     Check all that apply.
                                                                                                                       7,124.78
                                                                                                                     $________________________________
 200 West Meighan Boulevard                                             Contingent
                                                                        Unliquidated
 Gadsden, AL, 35901                                                     Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              7614                      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  12
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             6,992.30
                                                                                                                     $________________________________
 Gadsden Water Works and Sewer Board                                    Contingent
 515 N Albert Rains Blvd                                                Unliquidated
                                                                        Disputed
 Gadsden, AL, 35901
                                                                     Basis for the claim: Utility Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       2021
                                              ___________________
  13
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       12,500.00
                                                                                                                     $________________________________
 Harper Paint Contractors
 2519 County Road 108                                                   Contingent
                                                                        Unliquidated
 Rainsville, AL, 35986                                                  Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       2121
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  14
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lapsley Heating & Air                                               Check all that apply.
                                                                                                                      5,979.46
                                                                                                                     $________________________________
 7668 Owls Hollow Rd                                                    Contingent
                                                                        Unliquidated
 Gadsden, AL, 35901                                                     Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              6005                   
                                                                     ✔
                                                                         No
                                                                        Yes
  15
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      4,000.00
                                                                                                                     $________________________________
 LBK Appraisal Services                                              Check all that apply.
 1105 Wildtree Ln.                                                      Contingent
                                                                        Unliquidated
 Knoxville, TN, 37923                                                   Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              2162                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  16
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Lincoln Coggin dba CFL Accounting Service                           Check all that apply.
                                                                                                                       4,000.00
                                                                                                                     $________________________________
 8300 Alamo Rd                                                          Contingent
                                                                        Unliquidated
 Brentwood, TN, 37027                                                   Disputed
                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              1160                      Yes



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Pa rt 2 :     Addit iona l Pa ge


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  17
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             1,351.04
                                                                                                                     $________________________________
 Livingston Law Office                                                  Contingent
 247 S 8th St.                                                          Unliquidated
                                                                        Disputed
 Gadsden, AL, 35901
                                                                     Basis for the claim: Services



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       2621
                                              ___________________
  18
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       25.07
                                                                                                                     $________________________________
 Lowes Home Improvement
 PO BOX 530970                                                          Contingent
                                                                        Unliquidated
 Atlanta, GA, 30353                                                     Disputed

                                                                     Basis for the claim: Credit Card Debt



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       7441
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  19
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Marvins Inc.                                                        Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 PO BOX 97                                                              Contingent
                                                                        Unliquidated
 Leeds, AL, 35094                                                       Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              0000                   
                                                                     ✔
                                                                         No
                                                                        Yes
  20
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 RealPage, Inc.                                                      Check all that apply.
 PO BOX 11407                                                           Contingent
 Birmingham, AL, 35246                                                  Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  21
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Robert R. Short                                                     Check all that apply.
                                                                                                                       5,318.00
                                                                                                                     $________________________________
 2930 Sidco Drive                                                       Contingent
 Nashville, TN, 37204                                                   Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes



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  22
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             133,215.26
                                                                                                                     $________________________________
 Robert R. Short                                                        Contingent
 2930 Sidco Drive                                                       Unliquidated
                                                                        Disputed
 Nashville, TN, 37204
                                                                     Basis for the claim: Monies Loaned / Advanced



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  23
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       1,004.26
                                                                                                                     $________________________________
 Roto Rooters
 3803 W Meighan Blvd,                                                   Contingent
                                                                        Unliquidated
 Gasden, AL, 35904                                                      Disputed

                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       2460
                                              ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  24
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Secretary of Housing and Urban Development                          Check all that apply.
                                                                                                                      1,470,840.00
                                                                                                                     $________________________________
 The Associate General Counsel for Litigation                           Contingent
 Office of Litigation - Room 10258 U.S.                                 Unliquidated
 Department of Housing and Urban Development                            Disputed
 451 Seventh Street, S.W.
                                                                     Basis for the claim: Monies Loaned / Advanced
 Washington, DC, 20410


        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________     
                                                                     ✔
                                                                         No
                                                                        Yes
  25
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      0.00
                                                                                                                     $________________________________
 Shara Madden                                                        Check all that apply.
 720 Ewing Avenue                                                       Contingent
 Apt. 143                                                               Unliquidated
 Gadsden, AL, 35901                                                     Disputed

                                                                     Basis for the claim: Wages



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  26
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 SPIRE                                                               Check all that apply.
                                                                                                                       0.00
                                                                                                                     $________________________________
 PO BOX 2224                                                            Contingent
 Birmingham, AL, 35292                                                  Unliquidated
                                                                        Disputed
                                                                     Basis for the claim: Utility Services



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              MULT                      Yes



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Pa rt 2 :     Addit iona l Pa ge


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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  27
3.___ Nonpriority creditor’s name and mailing address                As of the petition filing date, the claim is:
                                                                     Check all that apply.                             0.00
                                                                                                                     $________________________________
 Steven Coley dba Coley's Law Care                                      Contingent
 643 Allen St,                                                          Unliquidated
 Attalla, AL, 35954                                                     Disputed

                                                                     Basis for the claim: Suppliers or Vendors



                                                                     Is the claim subject to offset?
        Date or dates debt was incurred       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
        Last 4 digits of account number       ___________________
  28
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                     Check all that apply.
                                                                                                                       375,012.00
                                                                                                                     $________________________________
 TAMCO Management Partnership LLC
 2930 Sidco Drive                                                       Contingent
 Nashville, TN, 37204                                                   Unliquidated
                                                                        Disputed

                                                                     Basis for the claim: Monies Loaned / Advanced



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       ___________________
                                                                     
                                                                     ✔
                                                                         No
                                                                        Yes
  29
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Tile Liquidators                                                    Check all that apply.
                                                                                                                      0.00
                                                                                                                     $________________________________
 2713 Forrest Avenue                                                    Contingent
                                                                        Unliquidated
 Gadsden, AL, 35904                                                     Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
        Last 4 digits of account number       __________________
                                              1791                   
                                                                     ✔
                                                                         No
                                                                        Yes
  30
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
                                                                                                                      1,500.00
                                                                                                                     $________________________________
 Tom Wall CPA, PLLC                                                  Check all that apply.
 256 Seaboard Lane, Unit E-103                                          Contingent
                                                                        Unliquidated
 Franklin, TN, 37067                                                    Disputed

                                                                     Basis for the claim: Services



        Date or dates debt was incurred       ___________________    Is the claim subject to offset?
                                              6242                
                                                                  ✔
                                                                         No
        Last 4 digits of account number       ___________________       Yes
  31
3.___ Nonpriority creditor’s name and mailing address
                                                                     As of the petition filing date, the claim is:
 Verizon Wireless                                                    Check all that apply.
                                                                                                                       229.10
                                                                                                                     $________________________________
 PO BOX 660108                                                          Contingent
                                                                        Unliquidated
 Dallas, TX, 75266                                                      Disputed
                                                                     Basis for the claim: Suppliers or Vendors



        Date or dates debt was incurred       ____________________   Is the claim subject to offset?
                                                                     
                                                                     ✔
                                                                         No
        Last 4 digits of account number       ___________________
                                              2842                      Yes



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  previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

  32
3.___ Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:
                                                                    Check all that apply.                             0.00
                                                                                                                    $________________________________
 Virgil Bonner                                                         Contingent
 823 Walnut Street                                                     Unliquidated
                                                                       Disputed
 Gadsden, AL, 35901
                                                                    Basis for the claim: Wages



                                                                    Is the claim subject to offset?
     Date or dates debt was incurred         ___________________
                                                                    
                                                                    ✔
                                                                        No
                                                                       Yes
     Last 4 digits of account number         ___________________

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         ___________________
                                                                       No
                                                                       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
     Last 4 digits of account number         __________________        No
                                                                       Yes
3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed

                                                                    Basis for the claim:



     Date or dates debt was incurred         ___________________    Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___________________       Yes

3.___ Nonpriority creditor’s name and mailing address
                                                                    As of the petition filing date, the claim is:
                                                                    Check all that apply.                           $________________________________
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed
                                                                    Basis for the claim:



     Date or dates debt was incurred         ____________________   Is the claim subject to offset?
                                                                       No
     Last 4 digits of account number         ___________________       Yes



            Case 3:21-bk-03771              Doc 1       Filed 12/10/21            Entered 12/10/21 14:22:07                  Desc Main
    Official Form 206E/F                            Document
                                               Schedule                 Page
                                                        E/F: Creditors Who Have26  of 48 Claims
                                                                                Unsecured                                                         8 of ___
                                                                                                                                             page __    10
                    River Hill Ltd.
     Debtor          _______________________________________________________                           Case number (if known)_____________________________________
                    Name



Pa rt 3 :           List Ot he rs t o Be N ot ifie d About Unse c ure d Cla ims


4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



              Name and mailing address                                                         On which line in Part 1 or Part 2 is the         Last 4 digits of
                                                                                               related creditor (if any) listed?                account number, if
                                                                                                                                                any
          United States Attorney General
4.1.      U.S. Department of Justice 950 Pennsylvania Avenue, NW                               Line _____
          Washington, DC, 20530                                                                                                                 ________________
                                                                                               
                                                                                               ✔     Not listed. Explain:
                                                                                               Service United States Attorney General
          United States Attorney Middle District of Tennessee
4.2.
          110 Ninth Avenue South                                                               Line _____
          Suite A-961                                                                             
                                                                                                  ✔ Not listed. Explain                         ________________
          Nashville, TN, 37203
                                                                                               Service to Secretary of Housing an Urban Development
4.3.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.4.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



41.                                                                                            Line _____

                                                                                                  Not listed. Explain                          ________________



4.5.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.6.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.7.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.8.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.9.                                                                                           Line _____

                                                                                                  Not listed. Explain                          ________________



4.10.                                                                                          Line _____

                                                                                                  Not listed. Explain                          ________________



4.11.
                                                                                               Line _____

                                                                                                  Not listed. Explain                          ________________




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       Official Form 206E/F                                  Document
                                                        Schedule                 Page
                                                                 E/F: Creditors Who Have27  of 48 Claims
                                                                                         Unsecured                                                              9 of ___
                                                                                                                                                           page __    10
               River Hill Ltd.
 Debtor        _______________________________________________________                    Case number (if known)_____________________________________
               Name



Pa rt 4 :    T ot a l Amount s of the Priority a nd N onpriorit y Unse c ure d Cla im s


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                  Total of claim amounts



5a. Total claims from Part 1                                                                         5a.
                                                                                                                    19,095.40
                                                                                                                  $_____________________________




5b. Total claims from Part 2                                                                         5b.    +       2,039,065.81
                                                                                                                  $_____________________________




5c. Total of Parts 1 and 2                                                                                          2,058,161.21
                                                                                                     5c.          $_____________________________
   Lines 5a + 5b = 5c.




            Case 3:21-bk-03771             Doc 1       Filed 12/10/21          Entered 12/10/21 14:22:07                   Desc Main
   Official Form 206E/F                             Document
                                               Schedule                 Page
                                                        E/F: Creditors Who Have28  of 48 Claims
                                                                                Unsecured                                                  page __     10
                                                                                                                                                10 of ___
 Fill in this information to identify the case:

             River Hill Ltd.
 Debtor name __________________________________________________________________

                                         Middle District of Tennessee
 United States Bankruptcy Court for the:______________________

 Case number (If known):    _________________________                        11
                                                                     Chapter _____



                                                                                                                                         Check if this is an
                                                                                                                                            amended filing

Official Form 206G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                                12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
         Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                       Management Agreement                              TAMCO Partnership Management LLC
         State what the contract or                                                      2930 Sidco Drive
 2.1     lease is for and the nature
         of the debtor’s interest
                                                                                         Nashville, TN, 37204
         State the term remaining
                                       12 months
         List the contract number of
         any government contract

                                       Phone Equipment                                   NEC Financial Services
         State what the contract or    Lessor                                            24189 Network Place
 2.2     lease is for and the nature
         of the debtor’s interest                                                        Chicago, IL, 60676

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.3     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.4
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract


         State what the contract or
 2.5     lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract



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Official Form 206G                           Schedule G:Document          Page
                                                        Executory Contracts      29 of 48
                                                                            and Unexpired Leases                                                         1
                                                                                                                                              page 1 of ___
 Fill in this information to identify the case:

 Debtor name __________________________________________________________________
             River Hill Ltd.

                                         Middle District of Tennessee
 United States Bankruptcy Court for the:_______________________________

 Case number (If known):    _________________________




                                                                                                                                          Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Sc he dule H : Code bt ors                                                                                                                               12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       
       ✔ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes
 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
            Name                      Mailing address                                                     Name
                                                                                                                                             that apply:


 2.1                                                                                                                                          D
                                                                                                                                              E/F
                                                                                                                                              G




 2.2
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.3
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.4
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G



 2.5
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




 2.6
                                                                                                                                              D
                                                                                                                                              E/F
                                                                                                                                              G




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Official Form 206H                                         Document         Page 30 of 48
                                                               Schedule H: Codebtors                                                                      1
                                                                                                                                               page 1 of ___
Fill in this information to identify the case:
             River Hill Ltd.
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Middle District of TennesseeDistrict of _________
                                                                              (State)
Case number (If known):   _________________________                                              ___________________________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                           
                                                                                               ✔ Operating a business
                                                                                                                                              398,890.00
           fiscal year to filing date:           01/01/2021
                                           From ___________         to     Filing date          Other                             $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2020
                                           From ___________         to     12/31/2020
                                                                           ___________         
                                                                                               ✔ Operating a business                         424,741.00
                                                                                                                                   $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2019
                                           From ___________         to     12/31/2019
                                                                           ___________         
                                                                                               ✔ Operating a business
                                                                                                                                              435,229.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                         $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                                                                             0.00
                                                                                              ___________________________         $__________________
           fiscal year to filing date: From 01/01/2021
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2020
                                                ___________         to      12/31/2020
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                        0.00
                                                                                                                                  $__________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________         $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
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                                                           Document      Page 31 of 48
                 River Hill Ltd.
Debtor           _______________________________________________________                       Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None
     ✔
             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________       ________        $_________________                 Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


     3.2.

                                                              ________        $_________________                 Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments

                                                              ________                                           Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

           None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.
             Tamco  Management Partnership LLC
             __________________________________________      _________         26,762.00
                                                                             $__________________
             Insider’s name
                                                                                                          Management Fees Paid Pursuant to
             2930 Sidco Drive                                                                             Management Contract ($2250 per
                                                             _________
             Nashville, TN 37204                                                                          month in 2021)
                                                             _________


             Relationship to debtor
              General Partner of Debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
            Case 3:21-bk-03771               Doc 1       Filed 12/10/21 Entered 12/10/21 14:22:07                                  Desc Main
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                 River Hill Ltd.
Debtor           _______________________________________________________                          Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     None
    ✔
            Creditor’s name and address                        Description of the property                                Date                Value of property
     5.1.

            __________________________________________                                                                    ______________      $___________
            Creditor’s name




     5.2.
            __________________________________________
            Creditor’s name                                                                                               _______________       $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                 Date action was        Amount
                                                                                                                          taken

             __________________________________________                                                                  _______________      $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

      None
     ✔
             Case title                              Nature of case                          Court or agency’s name and address                Status of case

     7.1.                                                                                                                                         Pending

                                                                                                                                                  On appeal

             Case number                                                                                                                          Concluded



             _________________________________

             Case title                                                                      Court or agency’s name and address
                                                                                                                                                  Pending
     7.2.
                                                                                                                                                  On appeal

             Case number
                                                                                                                                                  Concluded




             _________________________________


Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
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                 River Hill Ltd.
Debtor           _______________________________________________________                            Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     None
    ✔
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).


                                                                 ___________________________________________                 _________________   $__________



Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
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                River Hill Ltd.
Debtor         _______________________________________________________                            Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            EmergeLaw, PLC
            __________________________________________        Preparation for Bankruptcy Filing and Petition
   11.1.                                                                                                                 11/03/2021
                                                                                                                         ______________      $_________
                                                                                                                                               20,000.00
            Address

            4000 Hillsboro Pike, Suite 1112
            Nashville, TN 37215




            Email or website address
            _________________________________

            Who made the payment, if not debtor?

            Robert Short
            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
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                River Hill Ltd.
Debtor         _______________________________________________________                           Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
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                 River Hill Ltd.
Debtor           _______________________________________________________                           Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the             If debtor provides meals
                                                             debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.1.    ________________________________________                                                                                      ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                      How are records kept?


                                                                                                                                          Check all that apply:

                                                                                                                                             Electronically
                                                                                                                                             Paper

                                                             Nature of the business operation, including type of services the             If debtor provides meals
            Facility name and address                        debtor provides                                                              and housing, number of
                                                                                                                                          patients in debtor’s care

   15.2.                                                                                                                                  ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility    How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                          Check all that apply:
                                                                                                                                           Electronically
                                                                                                                                          Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                    Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan

                        _______________________________________________________________________                EIN: ___________________________________

                     Has the plan been terminated?
                           No
                           Yes



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Debtor            River Hill Ltd.
                  _______________________________________________________                         Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

     
     ✔     None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




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              River Hill Ltd.
Debtor        _______________________________________________________                          Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




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                River Hill Ltd.
Debtor          _______________________________________________________                      Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                     Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




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                   River Hill Ltd.
Debtor            _______________________________________________________                        Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

            
            ✔     None
              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.1.     __________________________________________________________________________________
              Name
                                                                                                              To _______




              Name and address                                                                                Dates of service

                                                                                                              From _______
   26a.2.     __________________________________________________________________________________
              Name
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
            
            ✔     None

                    Name and address                                                                          Dates of service

                                                                                                              From _______
         26b.1.     ______________________________________________________________________________
                    Name
                                                                                                              To _______




                                                                                                              Dates of service
                    Name and address

                                                                                                              From _______
         26b.2.
                    ______________________________________________________________________________
                    Name                                                                                      To _______




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔     None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     ______________________________________________________________________________
                    Name




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                    River Hill Ltd.
Debtor              _______________________________________________________                     Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

              
              ✔     None

                     Name and address


           26d.1.    ______________________________________________________________________________
                     Name




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
     
     ✔      No
           Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory


              ______________________________________________________________________           _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 12
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                River Hill Ltd.
Debtor          _______________________________________________________                        Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of          The dollar amount and basis (cost, market, or
                                                                                              inventory        other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name




 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest      % of interest, if any
 TAMCO PARTNERSHIP                           2930 Sidco Drive, Nashville, TN                         General Partner of Riverhill Ltd.       1.0
 MANAGEMENT LLC

 James L. Odom                               602 Oak Mountain Commons Lane, Pelham, AL               Limited Partner of Riverhill, Ltd.      4.75
                                             35124

 Robert E. Robert                            2930 Sidco Drive, Nashville, TN                         Limited Partner of Riverhill, Ltd.      51.875


 Brock D. Short                              1650 Murfreesboro Rd. Suite 205, Franklin, TN 37067 Limited Partner of Riverhill, Ltd.          42.375




 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
    ✔ No

          Yes. Identify below.
   Name                                                                                                 Position and nature of any   Period during which position
                                                Address                                                 interest                     or interest was held


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________


                                                                                                                                      _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
     
     ✔     No
          Yes. Identify below.
                                                                                     Amount of money or description      Dates               Reason for providing
            Name and address of recipient                                            and value of property                                   the value

   30.1.    ______________________________________________________________            _________________________          _____________
            Name


                                                                                                                         _____________


                                                                                                                         _____________

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________
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                   River Hill Ltd.
Debtor             _______________________________________________________                          Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ____________________________



 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       12/10/2021
                               _________________
                                MM / DD / YYYY



              /s/ Robert R. Short
              ___________________________________________________________                              Robert R. Short
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Chief Manager of LLC GP
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
         
         ✔    No
             Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
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 Fill in this information to identify the case and this filing:

              River Hill Ltd.
 Debtor Name __________________________________________________________________

                                         Middle District of Tennessee
 United States Bankruptcy Court for the: ________________________________

 Case number (If known):    _________________________




Official Form 202
De c la ra t ion U nde r Pe na lt y of Pe rjury for N on-I ndividua l De bt ors                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            De c la ra t ion a nd signa t ure



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔    Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔    Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    12/10/2021
        Executed on ______________                          /s/ Robert R. Short
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                  Robert R. Short
                                                                ________________________________________________________________________
                                                                Printed name

                                                                  Chief Manager of LLC GP
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                  United States Bankruptcy Court
                                     Middle District of Tennessee




         River Hill Ltd.
In re:                                                               Case No.

                                                                     Chapter    11
                           Debtor(s)




                                  Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




                12/10/2021                             /s/ Robert R. Short
Date:
                                                       Signature of Individual signing on behalf of debtor

                                                       Chief Manager of LLC GP
                                                       Position or relationship to debtor




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Advanced Disposal                                     Lapsley Heating & Air
PO BOX 743019                                         7668 Owls Hollow Rd
Atlanta, GA 30374                                     Gadsden, AL 35901

AL Power Company                                      LBK Appraisal Services
PO BOX 242                                            1105 Wildtree Ln.
Birmingham, AL 35292                                  Knoxville, TN 37923

Alabama Department of Revenue                         Lincoln Coggin dba CFL Accounting Service
P.O. Box 327210                                       8300 Alamo Rd
Montgomery, AL 36132                                  Brentwood, TN 37027

Alley's Carpet                                        Livingston Law Office
2211 S 11th St,                                       247 S 8th St.
Gadsden, AL 35904                                     Gadsden, AL 35901

AT&T                                                  Lowes Home Improvement
PO BOx 105262                                         PO BOX 530970
Atlanta, GA 30348                                     Atlanta, GA 30353

Bolin Cabinet Shop                                    Marvins Inc.
9554 Highway 132                                      PO BOX 97
Altoona, AL 35952                                     Leeds, AL 35094

Chadwell Supply                                       NEC Financial Services
4907 Joanne Kearney Blvd                              24189 Network Place
Tampa, FL 33619                                       Chicago, IL 60676

Colours Inc.                                          RealPage, Inc.
1137 Hanover Street                                   PO BOX 11407
Hanover TWP, PA 18706                                 Birmingham, AL 35246

Comcast                                               Robert R. Short
PO Box 71221                                          2930 Sidco Drive
Charlotte, NC 28272                                   Nashville, TN 37204

Custom Pest Control                                   Roto Rooters
10062 AL Highway 168                                  3803 W Meighan Blvd,
Boaz, AL 35957                                        Gasden, AL 35904

Ervin Lee Harris dba Harris Painting                  Secretary of Housing and Urban Development
145 Holmes St                                         The Associate General Counsel for Litiga
Gadsden, AL 35901                                     451 Seventh Street, S.W.
                                                      Washington, DC 20410
Foote Bros. Carpet and Flooring
200 West Meighan Boulevard                            Shara Madden
Gadsden, AL 35901                                     720 Ewing Avenue
                                                      Apt. 143
Gadsden Water Works and Sewer Board                   Gadsden, AL 35901
515 N Albert Rains Blvd
Gadsden, AL 35901                                     SPIRE
                                                      PO BOX 2224
Harper Paint Contractors                              Birmingham, AL 35292
2519 County Road 108
Rainsville, AL 35986                                  Steven Coley dba Coley's Law Care
                                                      643 Allen St,
John Young                                            Attalla, AL 35954
Multifamily Asset Management, Southeast
40 Marietta St. 13th Floor                            TAMCO Management Partnership LLC
Atlanta, GA 30303                                     2930 Sidco Drive
                                                      Nashville, TN 37204




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TAMCO Partnership Management LLC
2930 Sidco Drive
Nashville, TN 37204

Tile Liquidators
2713 Forrest Avenue
Gadsden, AL 35904

Tom Wall CPA, PLLC
256 Seaboard Lane, Unit E-103
Franklin, TN 37067

United States Attorney General
U.S. Department of Justice 950 Pennsylva
Washington, DC 20530

United States Attorney Middle District of Ten
110 Ninth Avenue South
Suite A-961
Nashville, TN 37203

Verizon Wireless
PO BOX 660108
Dallas, TX 75266

Virgil Bonner
823 Walnut Street
Gadsden, AL 35901




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